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                     ELEVENTH CIRCUIT TRANSCRIPT ORDER FORM
                 Provide all required information and check the appropriate box(es)

PART I.                                         Transcript Information
Within 14 days of the filing of the notice of appeal, the appellant must complete Part I and file this form with the
District Court Clerk and the Court of Appeals Clerk for all cases. 11th Cir. R. 10-1.

Case Information:

Short Case Style: United States of America                     vs Jamie L. Keith
District Court No.: 1:19-cr-00058-LAG-TQL-1                    Date Notice of Appeal Filed: 11/22/2022
Court of Appeals No. (if available): 22-13915
Transcript Order Information:
‫ ܆‬No hearing ‫ ܆‬No transcript is required for appeal purposes ‫ ܆‬All necessary transcript(s) already on file
✔ I am ordering a transcript of the following proceedings:
‫܆‬

                          HEARING DATE(S) / JUDGE/MAGISTRATE / COURT REPORTER NAME(S)

✔ Pre-Trial Proceedings Previously ordered
‫܆‬
‫ ܆‬Trial Previously ordered
✔
‫ ܆‬Sentence
‫ ܆‬Plea

‫ ܆‬Other 11/26/2019 - Judge Langstaff - FTR Gold - Court Reporter Lisa Snyder
✔

Criminal Appeals:
In a criminal appeal, if the appellant pleaded guilty and intends to raise an issue regarding the guilty plea, the
record must include a transcript of the guilty plea colloquy, and if the appellant intends to raise an issue
regarding the sentence, the record must include a transcript of the sentencing hearing. If such transcripts are
not ordered, you must check the appropriate box(es) below:

         Transcript of Guilty Plea Colloquy
‫܆‬        A transcript of the guilty plea colloquy is already on file.
‫܆‬        A transcript of a guilty plea colloquy is not being ordered and is not already on file, and I certify that no
         issue regarding a guilty plea will be raised in a merits brief in this appeal.

         Transcript of Sentencing Hearing
✔
‫܆‬        A transcript of the sentencing hearing is already on file.
‫܆‬        A transcript of the sentencing hearing is not being ordered and is not already on file, and I certify that no
         issue regarding sentencing will be raised in a merits brief in this appeal.

Note: Counsel who seek leave to withdraw pursuant to Anders v. California, 386 U.S. 738 (1967), must
ensure the record contains transcripts of all relevant proceedings. See 11th Cir. R. 27-1(a)(8).

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Financial Arrangements:

‫ ܆‬I certify that I have made satisfactory arrangements with the Court Reporter(s) for paying the cost of the
  transcript(s).

✔ Criminal Justice Act: My completed AUTH-24 for government payment of transcripts has been uploaded in
‫܆‬
  eVoucher and is ready for submission to the magistrate judge or district judge [if appointed by the district
  court] or to the circuit judge [if ordered by or appointed by the circuit court]. [A transcript of the following
  proceedings will be provided only if specifically authorized in Item 13 on the AUTH-24: Voir Dire;
  Opening and Closing Statements of Prosecution and Defense; Prosecution Rebuttal; Jury Instructions.]

Ordering Counsel/Party: Leigh Ann Webster
Address: 830 Glenwood Ave., Suite 510-203, Atlanta, GA 30316
E-mail: law@stricklandwebster.com                                      Phone No.: 404-590-7967
I certify that I have completed and filed Part I with the District Court Clerk and the Court of Appeals
Clerk, served all parties, AND sent a copy to the appropriate Court Reporter(s) if ordering a transcript.
11th Cir. R. 10-1.

Date: 06/27/2024          Signature:                                         Attorney for: Appellant Jamie L. Keith


PART II.                               Court Reporter Acknowledgment
Within 14 days of receipt, the Court Reporter must complete this section, file this form with the District Court
Clerk, and send a copy to the Court of Appeals Clerk and all parties. The transcript must be filed within 30 days
of the date satisfactory arrangements for paying the cost of the transcript were made unless the Court Reporter
obtains an extension of time to file the transcript.

Date Transcript Order received:
‫ ܆‬Satisfactory arrangements for paying the cost of the transcript were made on:
‫ ܆‬Satisfactory arrangements for paying the cost of the transcript have not been made.
No. of hearing days:
Estimated no. of transcript pages:
Estimated filing date:


Date:                    Signature:                                                     Phone No.:

PART III.                       Notification That Transcript Has Been Filed In District Court
On the date the transcript is filed in the district court, the Court Reporter must complete this section, file this
form with the District Court Clerk, and send a copy to the Court of Appeals Clerk.

I certify that the transcript has been completed and filed with the district court on (date):

Date:                    Signature:

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                                                                                                              Rev. 6/22
